     Case 1:06-cr-00365-LJO-BAM Document 251 Filed 02/15/13 Page 1 of 2


 1   SALVATORE SCIANDRA, Bar No. 58256
     Law Offices of Salvatore Sciandra
 2   2300 Tulare Street, Suite 230
     Fresno, CA 93721
 3   Telephone: 559.233.1000
     Facsimile: 559.233.6044
 4
 5   Attorney for Defendant, ABDEL BASET JAWAD
 6
 7
 8           UNITED STATES DISTRICT COURT, EASTERN DISTRICT OF CALIFORNIA
 9                                          FRESNO DIVISION
10
11   UNITED STATES OF AMERICA,                      )        CASE NUMBER: 1:06-CR-00365-LJO
                                                    )
12                         Plaintiff,               )
                                                    )
13   v.                                             )        STIPULATION REQUESTING
                                                    )        MODIFICATION OF ORDER SETTING
14   ABDEL BASET JAWAD,                             )        CONDITIONS FOR POST TRIAL
                                                    )        RELEASE
15                                                  )
                           Defendant.               )
16                                                  )
17          IT IS HEREBY STIPULATED, by defendant ABDEL BASET JAWAD by and through his
18   Attorney Salvatore Sciandra and the government by and through its attorney Mark Cullers, Assistant
19   United States Attorney, that the Order setting conditions of post trial release dated January,31 2013
20   (Document No. 243), be amended to approve defendant ABDEL BASET JAWAD’s posting property
21   located at 2553 W. Lake Van Ness Circle, Fresno, CA 93711 and owned by Abdul K. Jawad as security
22   for the property bond required as a condition of his release. This stipulation has been reviewed and
23   approved by Lydia Serrano of the United States probation department office pretrial services.
24                                                               Respectfully submitted,
25
26   DATED: February 15, 2013                                    /s/ Salvatore Sciandra
                                                                 SALVATORE SCIANDRA
27                                                               Attorney for Defendant,
                                                                 ABDEL BASET JAWAD
28   ///
     Case 1:06-cr-00365-LJO-BAM Document 251 Filed 02/15/13 Page 2 of 2


 1   DATED: February 15, 2013                                        /s/ Mark Cullers
                                                                     MARK CULLERS
 2                                                                   Assistant United States Attorney
 3
                                                   ORDER
 4
            GOOD CAUSE APPEARING, the Court Orders that the docket entry dated January 31, 2013
 5
     (Document No. 243) be amended to approve defendant ABDEL BASET JAWAD’s posting property
 6
     located at 2553 W. Lake Van Ness Circle, Fresno, CA 93711 and owned by Abdul K. Jawad as security
 7
     for the property bond required as a condition of his release.
 8
 9
            IT IS SO ORDERED.
10
          Dated:     February 15, 2013                         /s/ Gary S. Austin
11   6i0kij                                             UNITED STATES MAGISTRATE JUDGE
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28
